Case 2:21-cv-00040-JRG Document 156 Filed 12/10/21 Page 1 of 3 PageID #: 6136




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

 GESTURE TECHNOLOGY PARTNERS,
 LLC,
           Plaintiff
                                                               JURY TRIAL DEMANDED
 v.
 HUAWEI DEVICE CO., LTD.,
 HUAWEI DEVICE USA, INC.,                                C.A. NO. 2:21-cv-00040-JRG

                 Defendants.                             LEAD CONSOLIDATED CASE

 SAMSUNG ELECTRONICS CO., LTD.                           C.A. NO. 2:21-cv-00041-JRG
 AND SAMSUNG ELECTRONICS AMERICA,
 INC.,
          Defendants.

                               JOINT MOTION FOR DISMISSAL

        WHEREAS, Plaintiff GESTURE TECHNOLOGY PARTNERS, LLC, (“Plaintiff”) and

Defendants HUAWEI DEVICE CO., LTD. and HUAWEI DEVICE USA, INC., (“Defendants”)

have resolved Plaintiff’s claims for relief against Defendants asserted in this case, except for those

against the Nexus 6P; and

        WHEREAS, Plaintiff stipulates that the Nexus 6P does not infringe any claim of any patent

asserted in this action;

        NOW, THEREFORE, Plaintiff and Defendants, through their attorneys of record, request

this Court to dismiss Plaintiff’s claims for relief against Defendants relating to all of Defendants’

accused products with prejudice.

Dated: December 10, 2021                              Respectfully submitted,


 By: /s/ Fred I. Williams                           /s/ J. Mark Mann

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Case 2:21-cv-00040-JRG Document 156 Filed 12/10/21 Page 2 of 3 PageID #: 6137




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                                       Ltd. and Huawei Device USA, Inc.
Case 2:21-cv-00040-JRG Document 156 Filed 12/10/21 Page 3 of 3 PageID #: 6138




                                CERTIFICATE OF SERVICE


       The undersigned hereby certifies that on December 10, 2021, the undersigned caused a

copy of the foregoing document to be served on all counsel of record via the Court’s CM/ECF

system, pursuant to the Federal Rules of Civil Procedure.


                                                    /s/ Fred I. Williams
                                                    Fred I. Williams
